Filed
    Fill05/06/20
         in this information to identify the case:                            Case 20-90299                                                                       Doc 10
     Debtor 1                Louie Augustine Enriquez
     Debtor 2                Rosie Sifuentez Enriquez
     (Spouse, if filing)
     United States Bankruptcy Court for the: Eastern District of California (Modesto)
     Case number             20-90299

   Official Form 410S1
   Notice of Mortgage Payment Change                                                                                                                          12/15

  If the debtor¶s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor¶s principal residence,
  you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to your proof of claim at least 21 days
  before the new payment amount is due. See Bankruptcy Rule 3002.1.

   Name of Creditor: Wells Fargo Bank, N.A.                                                     Court claim no. (if known):
   Last 4 digits of any number you use to identify                                              Date of payment change:
   the debtor's account:      3912                                                              Must be at least 21 days after date of this notice   04/01/2020
                                                                                                New total payment:                                   Forbearance
   Uniform Claim Identifier: WFCMGF2090299CAE76313912                                           Principal, interest, and escrow, if any



   Part 1: Escrow Account Payment Adjustment
      1. Will there be a change in the debtor's escrow account payment?
             No
               Yes         Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
                           Describe the basis for the change. If a statement is not attached, explain why:



                                   Current escrow payment:                                              New escrow payment:

   Part 2: Mortgage Payment Adjustment
      2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's variable-
      rate account?
              No
                Yes        Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law.
                           If a notice is not attached, explain why:



                Current interest rate:                                                               New interest rate:
                Current principal and interest payment:                                              New principal and interest payment:

   Part 3:         Other Payment Change
      3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
                No
                Yes        Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
                           modification agreement. (Court approval may be required before the payment change can take effect.)
      Reason for change:         Notice of forbearance arrangement based on debtor's(s') request (COVID19)



                Current mortgage payment:                                                      New mortgage payment:




  Official Form 410S1                                                     Notice of Mortgage Payment Change                                                     page 1

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Filed 05/06/20                                                    Case 20-90299                                                               Doc 10
 Debtor 1    Louie Augustine Enriquez                                                Case number (if known)       20-90299
            First Name                Middle Name                 Last Name

 The CM/ECF system imposes certain constraints, including limits on the number of characters that may be entered into certain fields, when filing
 a proof of claim. As a result of these constraints and limitations, the creditor name that appears on the bankruptcy court¶s claims register (and
 any supplemental proof of claim) may differ from the creditor name that appears on the actual proof of claim form.
  Part 4: Sign Here
   The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.

   Check the appropriate box:
        I am the creditor.

         I am the creditor's authorized agent.
   I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information,
   and reasonable belief.
         /s/ Sheila D Williams                                                Date 05/06/2020
         Signature




   Print: Sheila D Williams                                                   Title VP Loan Documentation
         First Name           Middle Name             Last Name

   Company     Wells Fargo Bank, N.A.                                              Specific Contact Information:
   Address     MAC N9286-01Y                                                       P: 800-274-7025
               1000 Blue Gentian Road                                              E: NoticeOfPaymentChangeInquiries@wellsfargo.com
               Eagan, MN 55121-7700




  Official Form 410S1                                        Notice of Mortgage Payment Change                                                page 2

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Filed 05/06/20                                              Case 20-90299                                                          Doc 10




            The use of Official Form 410S1 and of the electronic filing method for a Notice of Payment Change is being
            used to provide interested parties with notice of the forbearance arrangement, detailed below. It is only
            being used due to limitations on existing functionality available to limited users within the Courts’ CMECF
            systems. The use of this form in no way implies that a payment change is occurring or has occurred on the
            account. This filing does not imply that the provisions of FRBP 3002.1 apply to this filing, nor does the
            Servicer\Creditor consent to the application of any provisions of FRBP 3002.1 to this filing.




                                            NOTICE OF TEMPORARY FORBEARANCE


           Effective Date of Forbearance:                                                  04/01/2020
           Number of monthly payments in Forbearance:                                           3

            Wells Fargo Bank, N.A. ("Creditor\Servicer") hereby provides notice that due to a recent financial hardship
            resulting directly or indirectly from the COVID-19 emergency, the Debtor has requested, and Creditor\Servicer
            has provided a temporary suspension of mortgage payments. This short-term relief is consistent with the COVID-
            19 relief available under the Coronavirus Aid, Relief, and Economic Security (CARES) Act.

            During this short-term relief, all terms and provisions of the mortgage note and security instrument, other than the
            payment obligations, will remain in full force and effect unless otherwise adjusted by this court or through a loan
            modification. If full or partial payments continue to be received during the forbearance period, Creditor/Servicer
            will apply such payment(s) pursuant to standard operating procedures.

            During the forbearance period and up to and including the time when that period ends, Creditor\Servicer will work
            with the Debtor, the Debtor’s attorney (if applicable) and the bankruptcy trustee on how to address the suspended
            payments in the long-term, including obtaining any necessary court consent and approval. NOTE: This Temporary
            Forbearance does not forgive any indebtedness; it only suspends the date that such indebtedness must be paid.

            This Notice does not constitute an amendment or modification to the Debtor’s plan of reorganization, and does not
            relieve the Debtor of the responsibility to amend or modify the plan of reorganization to reflect the forbearance
            arrangement, if required.
Filed 05/06/20                                                  Case 20-90299                                                               Doc 10
                            UNITED STATES BANKRUPTCY COURT
                                                    Eastern District of California (Modesto)
                                                                           Chapter 13 No. 20-90299
 In re:                                                                    Judge: Hon. Christopher D. Jaime
 Louie Augustine Enriquez and Rosie Sifuentez
 Enriquez
                                                  Debtor(s).

                                                   CERTIFICATE OF SERVICE
 I hereby certify that on or before May 07, 2020, I served a copy of this Notice and all attachments upon each of the entities named below by the
 court's notice of electronic filing or by placing a copy thereof in an envelope, in the United States Mail with first class mail postage prepaid,
 addressed to each of them as follows:

 Debtor:                    By U.S. Postal Service First Class Mail Postage Prepaid:
                            Louie Augustine Enriquez
                            Rosie Sifuentez Enriquez
                            220 Dowitcher Dr.
                            Patterson, CA 95363


 Debtor's Attorney:         By CM / ECF Filing:
                            Lauren Franzella
                            201 Needham St
                            Modesto, CA 95354



 Trustee:                   By CM / ECF Filing:
                            Russell D. Greer
                            PO Box 3051
                            Modesto, CA 95353-3051




                                                                           /s/ John Shelley
                                                                           InfoEx, LLC
                                                                           (as authorized agent for Wells Fargo Bank, N.A.)




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